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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA
Criminal No. 19-cr-10195-WGY

Vv.
(1) HAOYANG YU,

a/k/a JACK YU,

a/k/a HARRY YU,

a/k/a JACK TRICON, and
(2) TRICON MMIC, LLC,

Defendants

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GOVERNMENT'S MOTION TO UNSEAL
The United States of America respectfully moves this Court to unseal the indictment in this
case. The indictment was returned on June 11, 2019, and placed under seal. In support of this
unsealing request, the government states that there are no longer grounds for the matter to be sealed

as the defendant is now in custody.

Respectfully submitted,

ANDREW E. LELLING
United States Attorney

     
 

 

  

téphani ‘€gmann
George _P/ Varghese
Assistant U.S. Attorneys

Date: June 14, 2019
